                            Exhibit L




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           MAY 1, 2014


           Contact: Press Office, (202) 401-1576, press@ed.gov (mailto: press@ed.gov)


           The U.S. Department of Education's Office for Civil Rights (OCR) released today a list of the higher education
           institutions under investigation for possible violations of federal law over the handling of sexual violence and
           harassment complaints.

           Title IX of the Education Amendments of 1972 prohibits discrimination on the basis of sex in all education
           programs or activities that receive federal financial assistance. In the past, Department officials confirmed
           individual Title IX investigations at institutions, but today's list is the first comprehensive look at which campuses
           are under review by OCR for possible violations of the law's requirements around sexual violence.

           "We are making this list available in an effort to bring more transparency to our enforcement work and to foster
           better public awareness of civil rights," Assistant Secretary for Civil Rights Catherine E. Lhamon said. "We hope
           this increased transparency will spur community dialogue about this important issue. I also want to make it clear
           that a college or university's appearance on this list and being the subject of a Title IX investigation in no way
           indicates at this stage that the college or university is violating or has violated the law."

           As with all OCR investigations, the primary goal of a Title IX investigation is to ensure that the campus is in
           compliance with federal law, which demands that students are not denied the ability to participate fully in
           educational and other opportunities due to sex.

           The Department will not disclose any case-specific facts or details about the institutions under investigation. The
           list includes investigations opened because of complaints received by OCR and those initiated by OCR as
           compliance reviews. When an investigation concludes, the Department will disclose, upon request, whether OCR
           has entered into a resolution agreement to address compliance concerns at a particular campus or found
           insufficient evidence of a Title IX violation there.

           The list of institutions under investigation for Title IX sexual violence issues will be updated regularly and made
           available to the public upon request by contacting OCR (https://wdcrobcolp01.ed.gov/CFAPPS
           /OCR/contactus.cfm) or to media by contacting the Press Office at press@ed.gov (mailto:press@ed.gov).

           Releasing this list advances a key goal of President Obama's White House Task Force to Protect Students from
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           Sexual Assault to bring more transparency to the federal government's enforcement activities around this issue.
           The Obama administration is committed to putting an end to sexual violence—particularly on college campuses.
           That's why the President established the Task Force earlier this year with a mandate to strengthen federal
           enforcement efforts and provide schools with additional tools to combat sexual assault on their campuses.

           As part of that work, the Education Department released updated guidance (http://www2.ed.gov/about/offices
           /list/ocr/docs/qa-201404-title-ix.pdf) earlier this week describing the responsibilities of colleges, universities and
           schools receiving federal funds to address sexual violence and other forms of sex discrimination under Title IX.
           The guidelines provide greater clarity about the requirements of the law around sexual violence—as requested by
           institutions and students.

           All colleges, and universities and K-12 schools receiving federal funds must comply with Title IX. Schools that
           violate the law and refuse to address the problems identified by OCR can lose federal funding or be referred to the
           U.S. Department of Justice for further action.

           Under federal law, sexual violence refers to physical sexual acts perpetrated against a person's will or where a
           person is incapable of giving consent -- including rape, sexual assault, sexual battery, sexual abuse and sexual
           coercion.

           OCR's mission is to ensure equal access to education and promote educational excellence throughout the nation
           through the vigorous enforcement of civil rights. OCR is responsible for enforcing federal civil rights laws that
           prohibit discrimination by educational institutions on the basis of disability, race, color, national origin, sex, and
           age, as well as the Boy Scouts of America Equal Access Act of 2001. Additional information about the office is
           available at http://www2.ed.gov/about/offices/list/ocr/index.html (http://www2.ed.gov/about/offices/list/ocr
           /index.html).

           This list reflects investigations open as of May 1, 2014. Schools are listed alphabetically by state.

           StateInstitution
            AZ Arizona State University
             CA Butte-Glen Community College District
             CA Occidental College
             CA University of California-Berkeley
             CA University of Southern California
             CO Regis University
             CO University of Colorado at Boulder
             CO University of Colorado at Denver
             CO University of Denver
             CT University of Connecticut
             DC Catholic University of America
             FL Florida State University
             GA Emory University
             HI University of Hawaii at Manoa
             ID University of Idaho
             IL Knox College
             IL University of Chicago
             IN Indiana University-Bloomington
             IN Vincennes University
             MA Amherst College
             MA Boston University
             MA Emerson College
             MA Harvard College
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             MA Harvard University—Law School
            MA University of Massachusetts-Amherst
            MD Frostburg State University
             MI Michigan State University
             MI University of Michigan-Ann Arbor
             NC Guilford College
             NC University of North Carolina at Chapel Hill
             ND Minot State University
             NH Dartmouth College
             NJ Princeton University
             NY Cuny Hunter College
             NY Hobart and William Smith Colleges
             NY Sarah Lawrence College
             NY Suny at Binghamton
             OH Denison University
             OH Ohio State University
             OH Wittenberg University
             OK Oklahoma State University
             PA Carnegie Mellon University
             PA Franklin and Marshall College
             PA Pennsylvania State University
             PA Swarthmore College
             PA Temple University
             TN Vanderbilt University
             TX Southern Methodist University
             TX The University of Texas-Pan American
             VA College of William and Mary
            VA University of Virginia
            WA Washington State University
             WI University of Wisconsin-Whitewater
            WV Bethany College
            WV West Virginia School of Osteopathic Medicine


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                No Child Left Behind (http://www2.ed.gov/nclb/landing.jhtml?src=rn)
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                FAFSA (http://fafsa.ed.gov)
                1098-E Tax Form (http://www.ed.gov/1098-e)
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                                                                  More > (http://www2.ed.gov/about/overview/focus/social-media.html)



           Student Loans                      Laws & Guidance                 About ED
           (http://www.ed.gov                 (http://www2.ed.gov             (http://www2.ed.gov
           /fund/grants-                      /policy                         /about/landing.jhtml)
           college.html)                      /landing.jhtml?src=ft)
                                                                              Budget & Performance
           Repaying Loans                     No Child Left Behind            (http://www2.ed.gov/about
           (http://studentaid.ed.gov          (http://www2.ed.gov             /overview/focus
           /repay-loans)                      /nclb/landing.jhtml?src=rn)     /performance.html)

           Defaulted Loans                    Civil Rights                    Contact (http://www2.ed.gov
           (http://studentaid.ed.gov          (http://www2.ed.gov/about       /about/contacts

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           /repay-loans/default)              /offices/list/ocr/know.html)       /gen/index.html)
           Loan Forgiveness                   FERPA (http://www2.ed.gov          FAQs
           (http://studentaid.ed.gov          /policy/gen/guid/fpco/ferpa        (https://answers.ed.gov)
           /repay-loans/forgiveness-          /index.html)                       Online Services
           cancellation)                      Higher Education                   (http://www.ed.gov/about
           Loan Servicers                     (http://www2.ed.gov/about          /overview/focus/online-
           (http://studentaid.ed.gov          /offices/list/ope/policy.html)     services.html)
           /repay-loans/understand                                               Recursos en español
           /servicers#who-is-my-                                                 (http://www.ed.gov/espanol
                                              Data & Research
           loan-servicer)                                                        /bienvenidos/es/index.html)
                                              (http://www2.ed.gov
                                              /rschstat/landing.jhtml)
           Grants & Programs
           (http://www.ed.gov                 Education Statistics
                                              (http://nces.ed.gov/)
           /fund/grants-
           apply.html)                        Postsecondary Education
                                              Data (http://nces.ed.gov
           Apply for Pell Grants              /ipeds/)
           (http://www.fafsa.ed.gov/)
                                              Nation's Report Card
           Grants Forecast                    (http://nces.ed.gov
           (http://www2.ed.gov                /nationsreportcard/)
           /fund/grant/find/edlite-
                                              State Education Data
           forecast.html)
                                              (http://eddataexpress.ed.gov
           Open Grant Competitions            /?src=ft)
           (http://www2.ed.gov
                                              What Works Clearinghouse
           /fund/grant/apply/grantapps
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           /index.html)
           Find Grant Programs by
           Eligibility (http://www2.ed.gov
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